      Case 19-10642-JCM                        Doc 101         Filed 09/26/24 Entered 09/26/24 15:41:45                        Desc Main
     Fill in this information to identify the case:           Document Page 1 of 5
     Debtor 1              GERMAN P FERNANDEZ


     Debtor 2              THERESA A FERNANDEZ
     (Spouse, if filing)

     Unites States Bankruptcy Court for the:   Western District of Pennsylvania
                                                                                    (State)
     Case Number:          19-10642JCM




Form 4100N
Notice of Final Cure Payment                                                                                                           10/15

File a separate notice for each creditor.

According to Bankruptcy Rule 3002.1(f), the trustee gives notice that the amount required to cure the prepetition default in the claim
below has been paid in full and the debtor(s) have completed all payments under the plan.


 Part 1:             Mortgage Information

                                                                                                              Court claim no. (if known):
 Name of creditor:                 MIDFIRST BANK                                                                    10

 Last 4 digits of any number you use to identify the debtor's account                         6   3   2   4

 Property Address:                             786 N BROAD ST EXT
                                               GROVE CITY PA 16127




 Part 2:             Cure Amount


 Total cure disbursments made by the trustee:
 .
                                                                                                                           Amount

 a. Allowed prepetition arrearage:                                                                                   (a)   $        1,079.73

     b. Prepetition arrearage paid by the trustee :                                                                  (b)   $        1,079.73

     c. Amount of postpetition fees, expenses, and charges recoverable under Bankruptcy Rule 3002.1(c):              (c)   $           0.00

     d. Amount of postpetition fees, expenses, and charges recoverable under Bankruptcy Rule 3002.1(c)               (d)   $           0.00
        and paid by the trustee:
     e. Allowed postpetition arrearage:                                                                              (e)   $           0.00

 f.       Postpetition arrearage paid by the trustee :                                                             + (f)   $           0.00

     g. Total. Add lines b, d, and f.                                                                                (g)   $        1,079.73



 Part 3:             Postpetition Mortgage Payment

 Check one

         Mortgage is paid through the trustee .
         Current monthly mortgage payment                                                                                  $     $1,072.39
         The next postpetition payment is due on                 9 / 1 / 2024
                                                                MM / DD / YYYY

 ! Mortgage is paid directly by the debtor(s).


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Debtor 1     GERMAN P FERNANDEZ                                               Case number (if known) 19-10642JCM
             Name




 Part 4:     A Response Is Required By Bankruptcy Rule 3002.1(g)


 Under Bankruptcy Rule 3002.1(g), the creditor must file and serve on the debtor(s), their counsel, and the trustee, within 21
 days after service of this notice, a statement indicating whether the creditor agrees that the debtor(s) have paid in full the
 amount required to cure the default and stating whether the debtor(s) have (i) paid all outstanding postpetition fees, costs,
 and escrow amounts due, and (ii) consistent with § 1322(b)(5) of the Bankruptcy Code, are current on all postpetition
 payments as of the date of the response. Failure to file and serve the statement may subject the creditor to further action of
 the court, including possible sanctions.

 To assist in reconciling the claim, a history of payments made by the trustee is attached to copies of this notice sent to the
 debtor(s) and the creditor.




              "/s/ Ronda J. Winnecour
                    Signature
                                                                                 Date     09/26/2024


 Trustee            Ronda J. Winnecour

 Address            CHAPTER 13 TRUSTEE WD PA
                    600 GRANT STREET
                    SUITE 3250 US STEEL TWR
                    PITTSBURGH, PA 15219

 Contact phone      (412) 471-5566                                Email   cmecf@chapter13trusteewdpa.com




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Debtor 1     GERMAN P FERNANDEZ                                         Case number (if known) 19-10642JCM
             Name




                                              Disbursement History

Date         Check #   Name                                   Posting Type                                         Amount
MORTGAGE ARR. (Part 2 (b))
01/25/2021   1185066   LAKEVIEW LOAN SERVICING LLC            AMOUNTS DISBURSED TO CREDITOR                          15.31
02/22/2021   1188182   LAKEVIEW LOAN SERVICING LLC            AMOUNTS DISBURSED TO CREDITOR                          75.47
03/26/2021   1191466   LAKEVIEW LOAN SERVICING LLC            AMOUNTS DISBURSED TO CREDITOR                         473.47
11/22/2021   1216615   LAKEVIEW LOAN SERVICING LLC            AMOUNTS DISBURSED TO CREDITOR                          33.07
12/23/2021   1219672   LAKEVIEW LOAN SERVICING LLC            AMOUNTS DISBURSED TO CREDITOR                         172.22
01/26/2022   1222744   LAKEVIEW LOAN SERVICING LLC            AMOUNTS DISBURSED TO CREDITOR                         310.19
                                                                                                                  1,079.73

MORTGAGE REGULAR PAYMENT (Part 3)
09/24/2019   1133605   PLAZA HOME MORTGAGE INC                AMOUNTS DISBURSED TO CREDITOR                       1,284.21
10/24/2019   1136981   PLAZA HOME MORTGAGE INC                AMOUNTS DISBURSED TO CREDITOR                       1,520.95
11/25/2019   1140437   PLAZA HOME MORTGAGE INC                AMOUNTS DISBURSED TO CREDITOR                       1,012.47
12/23/2019   1143831   PLAZA HOME MORTGAGE INC                AMOUNTS DISBURSED TO CREDITOR                         758.59
01/28/2020   1147288   PLAZA HOME MORTGAGE INC                AMOUNTS DISBURSED TO CREDITOR                       1,265.51
02/25/2020   1150818   PLAZA HOME MORTGAGE INC                AMOUNTS DISBURSED TO CREDITOR                       1,064.27
03/23/2020   1154296   PLAZA HOME MORTGAGE INC                AMOUNTS DISBURSED TO CREDITOR                       1,088.25
04/27/2020   1157748   PLAZA HOME MORTGAGE INC                AMOUNTS DISBURSED TO CREDITOR                       1,623.08
05/26/2020   1161081   PLAZA HOME MORTGAGE INC                AMOUNTS DISBURSED TO CREDITOR                       1,060.49
06/02/2020             PLAZA HOME MORTGAGE INC                CONTINUING DEBT REFUND                             -1,064.27
06/08/2020             PLAZA HOME MORTGAGE INC                CONTINUING DEBT REFUND                             -1,012.47
06/24/2020             PLAZA HOME MORTGAGE INC                CONTINUING DEBT REFUND                             -1,623.08
08/25/2020   1169893   LAKEVIEW LOAN SERVICING LLC            AMOUNTS DISBURSED TO CREDITOR                       6,357.65
09/28/2020   1172981   LAKEVIEW LOAN SERVICING LLC            AMOUNTS DISBURSED TO CREDITOR                       2,038.25
10/26/2020   1176069   LAKEVIEW LOAN SERVICING LLC            AMOUNTS DISBURSED TO CREDITOR                         882.83
11/24/2020   1179147   LAKEVIEW LOAN SERVICING LLC            AMOUNTS DISBURSED TO CREDITOR                       1,122.24
12/21/2020   1182102   LAKEVIEW LOAN SERVICING LLC            AMOUNTS DISBURSED TO CREDITOR                         802.90
01/25/2021   1185066   LAKEVIEW LOAN SERVICING LLC            AMOUNTS DISBURSED TO CREDITOR                       1,597.99
02/22/2021   1188182   LAKEVIEW LOAN SERVICING LLC            AMOUNTS DISBURSED TO CREDITOR                         982.98
03/26/2021   1191466   LAKEVIEW LOAN SERVICING LLC            AMOUNTS DISBURSED TO CREDITOR                         982.98
04/26/2021   1194729   LAKEVIEW LOAN SERVICING LLC            AMOUNTS DISBURSED TO CREDITOR                         298.11
05/25/2021   1197867   LAKEVIEW LOAN SERVICING LLC            AMOUNTS DISBURSED TO CREDITOR                         897.63
06/25/2021   1201045   LAKEVIEW LOAN SERVICING LLC            AMOUNTS DISBURSED TO CREDITOR                         594.09
07/26/2021   1204255   LAKEVIEW LOAN SERVICING LLC            AMOUNTS DISBURSED TO CREDITOR                         611.47
08/26/2021   1207378   LAKEVIEW LOAN SERVICING LLC            AMOUNTS DISBURSED TO CREDITOR                       1,888.59
09/24/2021   1210499   LAKEVIEW LOAN SERVICING LLC            AMOUNTS DISBURSED TO CREDITOR                         943.84
10/25/2021   1213576   LAKEVIEW LOAN SERVICING LLC            AMOUNTS DISBURSED TO CREDITOR                       1,423.37
11/22/2021   1216615   LAKEVIEW LOAN SERVICING LLC            AMOUNTS DISBURSED TO CREDITOR                       1,186.29
12/23/2021   1219672   LAKEVIEW LOAN SERVICING LLC            AMOUNTS DISBURSED TO CREDITOR                         978.89
01/26/2022   1222744   LAKEVIEW LOAN SERVICING LLC            AMOUNTS DISBURSED TO CREDITOR                         978.89
02/23/2022   1225638   LAKEVIEW LOAN SERVICING LLC            AMOUNTS DISBURSED TO CREDITOR                         978.89
03/25/2022   1228584   LAKEVIEW LOAN SERVICING LLC            AMOUNTS DISBURSED TO CREDITOR                         978.89
04/26/2022   1231606   LAKEVIEW LOAN SERVICING LLC            AMOUNTS DISBURSED TO CREDITOR                         978.89
05/25/2022   1234639   LAKEVIEW LOAN SERVICING LLC            AMOUNTS DISBURSED TO CREDITOR                         978.89
06/27/2022   1237664   LAKEVIEW LOAN SERVICING LLC            AMOUNTS DISBURSED TO CREDITOR                         985.91
07/26/2022   1240617   LAKEVIEW LOAN SERVICING LLC            AMOUNTS DISBURSED TO CREDITOR                         985.91
08/24/2022   1243517   LAKEVIEW LOAN SERVICING LLC            AMOUNTS DISBURSED TO CREDITOR                         985.91
09/27/2022   1246380   LAKEVIEW LOAN SERVICING LLC            AMOUNTS DISBURSED TO CREDITOR                         985.91
10/25/2022   1249211   LAKEVIEW LOAN SERVICING LLC            AMOUNTS DISBURSED TO CREDITOR                         985.91
11/23/2022   1251988   LAKEVIEW LOAN SERVICING LLC            AMOUNTS DISBURSED TO CREDITOR                         985.91
12/22/2022   1254758   LAKEVIEW LOAN SERVICING LLC            AMOUNTS DISBURSED TO CREDITOR                         985.91
01/26/2023   1257655   MIDFIRST BANK                          AMOUNTS DISBURSED TO CREDITOR                         985.91
02/23/2023   1260278   MIDFIRST BANK                          AMOUNTS DISBURSED TO CREDITOR                         607.07
03/28/2023   1263047   MIDFIRST BANK                          AMOUNTS DISBURSED TO CREDITOR                       1,213.45
04/25/2023   1265866   MIDFIRST BANK                          AMOUNTS DISBURSED TO CREDITOR                       1,137.21
05/25/2023   1268724   MIDFIRST BANK                          AMOUNTS DISBURSED TO CREDITOR                         985.91
06/26/2023   1271619   MIDFIRST BANK                          AMOUNTS DISBURSED TO CREDITOR                         986.51
07/25/2023   1274385   MIDFIRST BANK                          AMOUNTS DISBURSED TO CREDITOR                         900.26
08/25/2023   1277156   MIDFIRST BANK                          AMOUNTS DISBURSED TO CREDITOR                       1,072.76
09/26/2023   1279909   MIDFIRST BANK                          AMOUNTS DISBURSED TO CREDITOR                         986.51
10/25/2023   1282617   MIDFIRST BANK                          AMOUNTS DISBURSED TO CREDITOR                         986.51
11/27/2023   1285295   MIDFIRST BANK                          AMOUNTS DISBURSED TO CREDITOR                         986.51
12/21/2023   1287885   MIDFIRST BANK                          AMOUNTS DISBURSED TO CREDITOR                         986.51
01/26/2024   1290564   MIDFIRST BANK                          AMOUNTS DISBURSED TO CREDITOR                         986.51

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Debtor 1     GERMAN P FERNANDEZ                                         Case number (if known) 19-10642JCM
             Name




                                              Disbursement History

Date         Check #   Name                                   Posting Type                                         Amount
MORTGAGE REGULAR PAYMENT (Part 3) Continued...
02/26/2024   1293229   MIDFIRST BANK                          AMOUNTS DISBURSED TO CREDITOR                         986.51
03/26/2024   1295874   MIDFIRST BANK                          AMOUNTS DISBURSED TO CREDITOR                         986.51
04/25/2024   1298524   MIDFIRST BANK                          AMOUNTS DISBURSED TO CREDITOR                         986.51
05/29/2024   1301234   MIDFIRST BANK                          AMOUNTS DISBURSED TO CREDITOR                         986.51
06/25/2024   1303772   MIDFIRST BANK                          AMOUNTS DISBURSED TO CREDITOR                       2,144.78
                                                                                                                 61,276.37




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                                          CERTIFICATE OF
                                          Document       SERVICE
                                                       Page 5 of 5
I hereby certify that on the date shown below, I served a true and correct copy of Notice of Final Cure Payment
upon the following, by regular United States mail, postage prepaid, addressed as follows:

GERMAN P FERNANDEZ
THERESA A FERNANDEZ
786 NORTH BROAD STREET EXTENSION
GROVE CITY, PA 16127

DANIEL P FOSTER ESQ**
FOSTER LAW OFFICES
1210 PARK AVE
MEADVILLE, PA 16335

MIDFIRST BANK
ATTN BANKRUPTCY TRUSTEE PMTS*
999 NW GRAND BLVD STE 100
OKLAHOMA, OK 73118

MIDFIRST BANK
999 NW GRAND BLVD #110
OKLAHOMA CITY, OK 73118-6077

ALDRIDGE PITE LLC
8880 RIO SAN DIEGO DR STE 725
SAN DIEGO, CA 92108




9/26/24                                                        /s/ Roberta Saunier
                                                               Administrative Assistant
                                                               Office of the Chapter 13 Trustee




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